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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION


 UNITED STATES OF AMERICA                                                   PLAINTIFF

 v.
                                                CRIMINAL Case No. 3:19-cr-00209-DJH

 ROCKY GANNON                                                               DEFENDANT


         UNOPPOSED MOTION TO CONTINUE AND RESCHEDULE TRIAL

         The defendant Rocky Gannon, by counsel, respectfully moves the Court to

 continue and reschedule the trial currently scheduled to begin on Tuesday, February 25,

 2020.

         This request for a continuance is made by the defense and is unopposed by the

 United States. The grounds for this request are that the United States and the Defendant

 require additional time to explore the possible resolution of this matter. Counsel for the

 Defendant also needs additional time to consult with his client to determine whether a

 resolution is possible or whether a trial will be necessary. Counsel for the Defendant

 believes judicial economy and the efficient administration of justice will be better served

 by continuing and rescheduling the trial. Consequently, counsel for the United States has

 agreed that she does not oppose this motion.

                                                      Respectfully Submitted,

                                                      _/s/ Mark G. Hall_______________
                                                      Mark G. Hall
                                                      Counsel for Rocky Gannon
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                           CERTIFICATION OF SERVICE

        On February 10, 2020, I, Mark G. Hall, electronically filed this Unopposed
 Motion to Continue and Reschedule Trial through the ECF system which will send a
 notice of electronic filing to Corinne Keel, Assistant United States Attorney, Louisville,
 KY.

                                                     _/s/ Mark G. Hall___________
                                                     Mark G. Hall
